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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JANE DOE                                                          CIVIL ACTION
                       Plaintiff,
               v.

MANOR COLLEGE
             Defendant.                                           No.18-5309



                                     CIVIL JUDGMENT

Before the Honorable Gene E.K. Pratter

       AND NOW, this 11th day of February, 2022, in accordance with the Jurors' Answers to

the Court's Interrogatories,

       IT IS ORDERED that Judgment be and the same is hereby entered in favor of defendant

Manor College and against plaintiff Jane Doe.




                                           BY THE COURT
                                           ATT. ST:
